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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION (DAYTON)

IN RE:                                        *
                                                    Case No. 1:17-12002
KELLI R. HARDY                                *     Chapter 13
                                                    Judge Buchanan
                                              *
         Debtors.


KELLI R. HARDY                                *

         Plaintiff,                           *     Adversary Proceeding
                                                    Case No. ___________
         -vs-                                 *

UC HEALTH, LLC                                *     CLASS ACTION COMPLAINT
d/b/a UC HEALTH
c/o GH&R Business Services, Inc. (agent)      *
312 Walnut Street, Ste. 1800
Cincinnati, Ohio 45202                        *

         Defendant.                           *

           ______________________________________________________________


         Now comes Plaintiff, Kelli R. Hardy, individually and on behalf of all others similarly

situated, and for her Complaint against Defendant states and alleges as follows. All allegations

made in this Complaint are based upon information and belief except those allegations that pertain

to Plaintiff, which are based on personal knowledge. Each allegation in this Complaint either has

evidentiary support or, alternatively, pursuant to Rule 9011(b)(3) of the Federal Rules of

Bankruptcy Procedure, is likely to have evidentiary support after a reasonable opportunity for

further investigation or discovery.
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                              INTRODUCTORY STATEMENT

        1.     Plaintiff brings this action on behalf of herself and all others similarly situated

against Defendant as a result of Defendant’s filing of Plaintiff’s unredacted private and

confidential health and personal information, and the unredacted private and confidential health

and personal information of thousands of others, on the publicly accessible PACER system.

Specifically, Defendant routinely files Proofs of Claims (“POCs”) for unpaid medical bills in

bankruptcy matters pending in the U.S. Bankruptcy Court for the Southern District of Ohio. Upon

information and belief, Defendant’s regular practice is to attach unredacted copies of detailed

statements listing the specific medical treatment and tests performed by Defendant.           The

statements also list the individual’s name, address, account number and the facility at which

treatment was received. In many cases, the unredacted records filed by Defendant reveal highly

personal and potentially embarrassing information about individual medical conditions, treatment

and tests.

        2.     Defendant’s filing of such confidential medical information on a publicly

accessible system is unnecessary, contrary to applicable rules and law, serves no legitimate

purpose and violates Plaintiff’s and others’ well established rights to privacy with respect to

Personal Health Information (“PHI”) and Personally Identifiable Information (“PII”).

        3.     Plaintiff has incurred actual damages as a result of Defendant’s wrongful conduct

insofar as she has suffered serious emotional anxiety and distress about the publication of PHI

and/or PII on the internet and incurred attorney fees and other costs to seek to terminate public

access to Defendant’s filings on the PACER system. Plaintiff seeks all remedies available under

applicable law for Defendant’s wrongful conduct, including without limitation declaratory and

injunctive relief requiring Defendant to cease its unlawful practices and take corrective measures




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to protect Plaintiff and all others similarly situated against the disclosure of their PHI filed on the

PACER system by Defendant, all damages available under applicable law and attorney fees and

costs associated with this action.

                                              PARTIES

       4.      Plaintiff is a citizen of Ohio residing in Cincinnati, Ohio.

       5.      Defendant UC Health, LLC (“UC Health”) is an Ohio non-profit limited liability

company that does business under the trade name UC Health. UC Health’s corporate offices are

located at 3200 Burnet Avenue, Cincinnati, Ohio. UC Health is an integrated system spanning the

Tristate region with main campuses located in Clifton and West Chester and multiple locations in

communities throughout the area. UC Health includes the University of Cincinnati Medical

Center, West Chester Hospital, Daniel Drake Center for Post-Acute Care, Lindner Center of

HOPE, Bridgeway Pointe and University of Cincinnati Physicians, which employs more than 800

physicians.

                                          JURISDICTION

       6.      Plaintiff’s claims are non-core proceedings over which the Court may properly preside

under 28 U.S.C. § 157(c), and over which, the Court may properly exercise supplemental jurisdiction

under 28 U.S.C. 1367. The outcome of Plaintiff’s claim may have an effect on the bankruptcy estate

such that the exercise of jurisdiction in this case is appropriate under Judge Beth A. Buchanan's ruling

in In re Marshall, 491 B.R. 217, 231 n. 11 (S.D. Ohio Bankr. 2012).

                                               VENUE

       7.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred here.

                           FACTS GIVING RISE TO THIS ACTION




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        8.      Plaintiff received medical treatment at a UC Health facility on numerous occasions

from 2014 through 2017. On May 31, 2017, Plaintiff commenced Chapter 13 Bankruptcy

Proceedings in this Court in Case No. 1:17-bk-12002. UC Health component West Chester

Hospital was identified as a creditor in Schedule F attached to Plaintiff’s petition.

        9.      On June 19, 2017, UC Health filed a proof of claim in Plaintiff’s Bankruptcy

proceeding for services provided at West Chester Hospital. UC Health attached to its proof of

claim and filed with the Court unredacted copies of 24 bills for medical services provided to

Plaintiff by UC Health. Each bill states Plaintiff’s name, home address and an account number as

well as her health insurance company and a “guarantor ID” number. In addition, UC Health’s bills

state the date of each medical service provided, provide a procedure code for each service, describe

the service provided in a short narrative and state the charges associated with each medical service.

As a result, all tests run, drugs administered and procedures performed are identified on the bills

filed by UC Health.

        10.     UC Health operates hospitals and outpatient clinics providing a wide variety of

medical services that include treatments and therapies of a highly personal nature. For example,

among the services offered by UC Health are emergency room treatment, surgical services, mental

health services, gynecological services, fertility services, bladder and pelvic floor treatment, and

sexually transmitted disease testing and treatment.

        11.     UC Health’s billing statements include details about the tests and treatments

provided to its patients as well as patient name, address and individual account numbers, and thus

include PHI and PII. Indeed, UC Health’s published “Statement of Privacy Practices” indicates

that its bills contain personal health information.1


1
https://uchealth.com/wp-content/uploads/2014/10/NPP_OCR_Full-page_revised_UC-Health.pdf, last accessed
December 7, 2018.


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          12.   UC Health publishes its Notice of Privacy Practices on its website, where it

represents and assures patients that “[w]e are required by law to maintain the privacy and security

of your protected health information” “[w]e will not use or share your information other than as

described here unless you tell us we can in writing.”2

          13.   UC Health’s published Notice of Privacy Practices lists the circumstances in which

PHI may be disclosed without an individual’s prior written consent, including “to bill for your

services.” With respect to obtaining payment, UC Health advises patients that: “We can use and

share your health information to bill and get payment from health plans or other entities. Example:

We give information about you to your health insurance plan so it will pay for your services.”

          14.   Nowhere does UC Health’s published Notice of Privacy Practices advise or warn

patients that UC Health may file their medical bills containing PHI and PII and make them publicly

available on PACER or any other publicly accessible database. As a result, UC Health patients

are induced and given to believe that the confidentiality of their PHI and PII will be maintained by

UC Health.

          15.   Upon information and belief, UC Health routinely files POCs in bankruptcy

proceedings and attaches unredacted copies of medical bills containing PHI and PII as support.

UC Health has been filing such materials for at least two years prior to the date of this action if not

longer. Upon information and belief, UC Health has filed hundreds and perhaps thousands of

POCs containing PHI and PII with the Clerk of the Bankruptcy Court.

          16.   The Public Access to Court Electronic Records system (“PACER”) provides

electronic public access to documents filed with the federal courts, including POCs filed with

Bankruptcy Courts. There is no charge for anyone to register to use PACER, and anyone can


2
    Id.



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electronically register to access PACER.3 Viewing or printing documents filed by PACER users

is available to the public at a nominal charge, and any user that provides a valid credit or debit card

at the time of registration receives immediate access to records filed on PACER.4

        17.     The POCs filed by UC Health and the PHI attached thereto remain publicly

accessible through PACER as of the date of this complaint.

        18.     UC Health’s published Notice of Privacy Practices promise that “[w]e will let you

know promptly if a breach occurs that may have compromised the privacy or security of your

information.”5 Upon information and belief, UC Health has not notified any patients that it

released their PHI by making it publicly accessible online through PACER.

        19.     The privacy interests of Plaintiff and others in the PHI and PII made publicly

available by UC Health by filing POCs with medical bills attached are well established under state

and federal law. In 1999, The Ohio Supreme Court recognized this interest in a case in which a

hospital’s law firm was provided with copies of patient registration forms so that it could solicit

patients to help them obtain social security disability benefits to pay the hospital’s bills. See Biddle

v. Warren General Hospital, 86 Ohio St.3d 395, 400 (1999); see also O.R.C. §§ 5119.28 and

5122.31 (protecting confidentiality of mental health records); O.R.C. § 3721.13 (protecting

confidentiality of medical records of residents of nursing homes); O.R.C. § 3701.243

(confidentiality of HIV testing information). Likewise, federal law contains numerous provisions

expressly recognizing the high degree of privacy protection to be afforded PHI and/or PII. See




3
  See “PACER policies and procedures,” available at https://www.pacer.gov/documents/pacer_policy.pdf, last
accessed December 7, 2018.
4
  Id.
5
  https://uchealth.com/wp-content/uploads/2014/10/NPP_OCR_Full-page_revised_UC-Health.pdf, last accessed
December 7, 2018.


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e.g. 29 U.S.C. §§ 1181 et seq. (Health Insurance Portability and Accountability Act of 1996) and

15 U.S.C. § 1681a (Fair Credit Reporting Act).

          20.   Plaintiff never consented to the publication or disclosure of her PHI or PII by UC

Health.

          21.   In response to the unauthorized disclosure of her PHI and PII by UC Health,

Plaintiff filed a motion to restrict public access pursuant to Bankruptcy Rule 9037.

          22.   Upon information and belief, the proof of claim filed by UC Health in Plaintiff’s

Bankruptcy is consistent with UC Health’s longstanding practice of attaching unredacted medical

bills to proofs of claims filed in many individual bankruptcies.

          23.   Upon information and belief, UC Health was repeatedly advised by counsel for

other debtors that its practice of filing unredacted medical bills as attachments to proofs of claims

was violating the rights of debtors. Despite such warnings, UC Health has continued its practice

of filing such materials on PACER thereby making the personal health information of debtors

publicly available.

          24.   As a direct and proximate result of UC Health’s unauthorized disclosure of

Plaintiff’s PHI and PII, Plaintiff has suffered actual damages by incurring attorney fees to attempt

to restrict public access to the documents disclosed by UC Health as well as emotional distress and

anxiety.

                               CLASS ACTION ALLEGATIONS

          23.   Plaintiff brings this action pursuant to Rule 23 of the Federal Rules of Civil

Procedure, incorporated herein by 11 U.S.C. § 7023, on behalf of herself and as a representative

of a Class of similarly-situated individuals who have been subjected to Defendant’s unauthorized




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public disclosure of their PHI and PII by filing unredacted medical records as attachments to POCs

in Bankruptcy and thereby making them publicly available on PACER.

         24.      Pursuant to Rule 23(b)(2) of the Federal Rules of Civil Procedure, Plaintiff seeks

to represent a Class defined as:

         All individuals within the maximum jurisdictional reach of this Court whose PHI and/or

         PII has been filed as an attachment to a POC by Defendant (hereinafter referred to as the

         “Class” and the members of the Class shall be referred to as “Class Members”).6

         25.      Excluded from the Class is Defendant, its employees, any entities in which

Defendant has a controlling interest, their legal representatives, heirs, successors, and assigns.

         26.      The definition of the proposed Class is clear and succinct. Class Members are

easily identifiable from the Bankruptcy Court docket and Defendant’s own records and Plaintiff is

a member of the proposed Class.

         27.      The Class should be certified as a Class Action under Rule 23 of the Federal Rules

of Civil Procedure for the following reasons:

                  A)       The Prerequisites for a class action are satisfied:

                           1)        Plaintiff is a member of the Class she seeks to represent;

                           2)        The Class is easily and readily identifiable;

                           3)        Upon information and belief there are more than 500 members of

                           the Class. The members of the Class are so numerous that joinder of all

                           Class Members is not practicable, and the resolution of their claims through

                           the class action procedure will be of benefit to the parties and the

                           Court. Therefore, Plaintiff satisfies the “numerosity” requirement of


6
  This class definition is subject to change based on investigation and discovery. Plaintiff reserves the right to seek
to certify a class with a different definition during the course of these proceedings.


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                 Federal Rule of Civil Procedure 23(a)(1) as incorporated herein by 11

                 U.S.C. § 7023.

                 4)      There are questions of law and fact common to Plaintiff and the

                 Class Members, which predominate over any question which could affect

                 individual     members     of   the   Class. Thus,    Plaintiff   satisfies   the

                 “commonality” requirement and the “predominance” requirement of

                 Federal Rule of Civil Procedure 23(a)(2).            Under these facts and

                 circumstances, common and predominating questions of law and fact

                 include, but are not limited to the following:

                         i)       Whether the medical bills filed with POCs by Defendant

                                  contain Personal Health Information and/or Personally

                                  Identifiable Information;

                         ii)      Whether the filing of unredacted medical bills with POCs by

                                  Defendant such that they are publicly available on PACER

                                  constitutes a violation of Plaintiff’s and the Class’s rights

                                  under applicable law;

                         iii)     Whether injunctive relief requiring Defendant to cease its

                                  practice of filing unredacted medical bills and seek to

                                  prevent public access to all of the POCs that it has filed with

                                  unredacted medical bills is appropriate; and

                         iv)      Whether Plaintiff or the Class is entitled to damages or other

                                  relief;




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                 5)      The claims of Plaintiff, as representative of the Class, are typical of

                 and identical to the claims of other Class Members. Plaintiff and Class

                 Members were subject to the same conduct by Defendant, and Plaintiff is

                 not aware of any claims or defenses, which are or could be adverse or

                 antagonistic to the claims and interests of the other Class Members. Thus,

                 Plaintiff satisfies the “typicality” requirement of Federal Rule of Civil

                 Procedure 23(a)(3).

                 6)      Plaintiff, as Class representative, will fairly and adequately

                 represent and protect the claims and interests of the other Class Members.

                 Plaintiff is committed to aggressively protecting the claims and interests of

                 all Class Members, to seeking out and obtaining all possible relief for the

                 mutual and shared benefit of all Class Members, and to utilizing the Class

                 Action device to promote and enhance the rights and claims of debtors in

                 light of the conduct of Defendant. Plaintiff’s interests are aligned with, and

                 not antagonistic to, those of the Class. Plaintiff has retained counsel who

                 are experienced and competent in the prosecution of complex and class

                 action litigation who will fairly and adequately protect the claims and

                 interests of the Class. Therefore, Plaintiff and her counsel satisfy the

                 “adequate representation” requirement of Federal Rule of Civil Procedure

                 23(a)(4).

           B)    The other considerations for certifying a class action weigh in favor of doing

                 so in this case:




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                 1)      Concentrating all the potential litigation over Defendant’s conduct

                 will obviate the risk of unduly duplicative litigation that might result in

                 inconsistent judgments that would establish incompatible standards of

                 conduct for Defendant, will conserve judicial resources and the resources

                 of the parties, and is the most efficient means of resolving the rights of

                 members of the Class;

                 2)      Defendant has acted or refused to act on grounds that apply

                 generally to the class, so that final injunctive relief or corresponding

                 declaratory relief is appropriate respecting the class as a whole.

                 3)      This court should find that the questions of law or fact common to

                 class members predominate over any question affecting only individual

                 members, and that a class action is superior to other available methods for

                 the fair and efficient adjudication of this litigation for the following reasons:

                         i)        individual plaintiffs who have undergone bankruptcy

                                   proceedings are likely to lack the financial resources to

                                   vigorously prosecute a lawsuit in state or federal court

                                   against a corporate defendant, and damages suffered by

                                   individual class members are small compared to the expense

                                   and burden of individual prosecution of this litigation;

                         ii)       The extent of any litigation already begun concerning this

                                   matter is not significant and not similar in nature to this case;

                         iii)      This forum is desirable because Defendant’s conduct

                                   emanates from filings in Bankruptcy Court and members of




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                                       the Class would all be individuals who have declared

                                       bankruptcy; and

                              iv)      The class action would not be difficult to manage because

                                       similar relief would be sought for all class members.

               FIRST CAUSE OF ACTION – Ohio Common Law Claim For

                Unauthorized Disclosure of Nonpublic Medical Information

         28.   The previous paragraphs are incorporated as if fully rewritten herein.

         29.   Ohio law recognizes a common law tort for the unauthorized disclosure of

nonpublic medical information. See Biddle v. Warren General Hospital, 86 Ohio St.3d 395 (1999).

Said claim is not preempted or foreclosed by the adoption of federal HIPAA legislation. See

Sheldon v. Kettering Health Network, 2015-Ohio-3268, ¶ 25, 40 N.E.3d 661, 672 (2nd Dist. App.

2015).

         30.   UC Health intentionally and willfully disclosed confidential nonpublic medical

information of Plaintiff and members of the proposed Class without consent or privilege to do so

when it attached unredacted detailed medical bills describing highly personal medical conditions,

treatment and/or testing of Plaintiff and members of the proposed Class to POCs that it filed with

the Bankruptcy Court.

         31.   Defendant’s disclosure of Plaintiff’s and the proposed Class’s medical information

was done intentionally and willfully in order to support Defendant’s claim for payment in

Bankruptcy proceedings.

         32.   Defendant’s disclosure of Plaintiff’s and the proposed Class’s medical information

was unnecessary and without privilege or warning to Plaintiff or the proposed Class.




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          33.   Plaintiff and the proposed Class have been harmed as a direct and proximate result

of Defendant’s unlawful conduct because their highly sensitive medical information is publicly

available online through the PACER system.

                      SECOND CAUSE OF ACTION – Invasion of Privacy

          34.   The previous paragraphs are incorporated as if fully rewritten herein.

          35.   Plaintiff’s and the proposed Class’s PHI and PII is private information of a highly

sensitive nature, the dissemination and publication of which would be offensive to a reasonable

person.

          36.   The public has no legitimate interest in being apprised of Plaintiff’s and proposed

Class’s PHI and PII.

          37.   Defendant’s disclosure of Plaintiff’s and the proposed Class’s PHI and PII directly

and proximately resulted in unreasonable publicity to the private lives of Plaintiff and members of

the proposed Class.

          38.   Plaintiff and members of the proposed Class have a legal interest in the privacy of

their PHI and PII.

          39.   Defendant’s intentional failure to safeguard and disclosure of Plaintiff’s and the

proposed Class’s PHI and PII was the direct and proximate cause of making such information

publicly available on the internet through the PACER system.

          40.   As a direct and proximate result of Defendant’s conduct alleged above, Plaintiff

and members of the proposed Class have been damaged and will continue to be damaged until

such time as public access to all such documents is permanently restricted.

                       THIRD CAUSE OF ACTION – Breach of Contract

          41.   The previous paragraphs are incorporated as if fully rewritten herein.




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       42.     Defendant contracted and agreed to provide Plaintiff and members of the proposed

Class with medical services including the maintenance of privacy and the keeping of PHI and PII.

       43.     Defendant’s conduct described above constitutes a breach of said contract to the

damage and detriment of Plaintiff and members of the proposed Class.

       44.     As a direct and proximate result of Defendant’s conduct alleged above, Plaintiff

and members of the proposed Class have been damaged and will continue to be damaged until

such time as public access to all such documents is restricted.

                         FOURTH CAUSE OF ACTION – Negligence

       45.     The previous paragraphs are incorporated as if fully rewritten herein.

       46.     Defendant had a duty to protect the privacy of PHI and PII under its custody and

control.

       47.     Defendant owed a duty of trust and confidence to Plaintiff and members of the

proposed Class not to disclose their PHI and PII to unauthorized persons.

       48.     Defendant breached its duty owed to Plaintiff and members of the proposed class.

       49.     As a direct and proximate result of Defendant’s conduct alleged above, Plaintiff

and members of the proposed Class have been damaged and will continue to be damaged until

such time as public access to all such documents is restricted.

       WHEREFORE, Plaintiff demands judgment against Defendant as follows:

       1)    For an Order certifying this action as a class action pursuant to Rule 23 of the Federal

             Rules of Civil Procedure as applicable herein under 11 U.S.C. § 7023;

       2)    For an Order redressing Defendant’s conduct including but not limited to, declaratory

             and injunctive relief, restitution, actual damages, punitive damages and attorney fees;




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     3)   For an award of costs of litigation and reasonable attorney’s fees against Defendant and

          for Plaintiff; and

     4)   Such other relief as the Court deems just and equitable under the premises.

                                           Respectfully submitted,

                                           MINNILLO & JENKINS Co., LPA

                                           /s/ Christian A. Jenkins
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